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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
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                                                Filed: January 26, 2021




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                     Re: Case No. 19-5395, Larry Redmon v. Yorozu Automotive TN, Inc.
                         Originating Case No. : 4:18-cv-00038

Dear Counsel,

  The Court issued the enclosed opinion today in this case.

                                                Sincerely yours,

                                                s/Cathryn Lovely
                                                Opinions Deputy

cc: Mr. John L. Medearis

Enclosure

Mandate to issue




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                          NOT RECOMMENDED FOR PUBLICATION
                                 File Name: 21a0053n.06

                                            No. 19-5395

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                                                                         FILED
                                                                                   Jan 26, 2021
LARRY SHANE REDMON,                                      )                     DEBORAH S. HUNT, Clerk
                                                         )
       Plaintiff-Appellant,                              )
                                                         )   ON APPEAL FROM THE UNITED
v.                                                       )   STATES DISTRICT COURT FOR
                                                         )   THE EASTERN DISTRICT OF
YOROZU AUTOMOTIVE TENNESSEE,                             )   TENNESSEE
INC.,                                                    )
                                                         )
       Defendant-Appellee.                               )



       BEFORE: BATCHELDER, GRIFFIN, and STRANCH, Circuit Judges.

       PER CURIAM. Larry Shane Redmon appeals the district court’s judgment dismissing his

employment discrimination complaint for failure to state a claim. As set forth below, we

VACATE the district court’s judgment and REMAND for further proceedings.

       Redmon filed a complaint against his former employer, Yorozu Automotive Tennessee,

Inc., claiming employment discrimination and harassment based on his sexual orientation and

retaliation for filing charges with the Equal Employment Opportunity Commission in violation of

Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e to e-17. Redmon also asserted state-

law claims for employment discrimination in violation of the Tennessee Human Rights Act, Tenn.

Code Ann. § 4-21-101 et seq., negligent hiring and supervision, and tortious interference with

business relationships.

       Yorozu Automotive filed a motion to dismiss Redmon’s complaint for failure to state a

claim, asserting in relevant part that Title VII does not apply to claims based on sexual orientation.



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              Case: 19-5395           Document: 38-2           Filed: 01/26/2021          Page: 2                      (3 of 3)

No. 19-5395, Redmon v. Yorozu Auto. Tenn., Inc.


The district court granted Yorozu Automotive’s motion to dismiss. The court concluded that it

was bound by Vickers v. Fairfield Medical Center, which rejected the contention that sexual

orientation is a protected class under Title VII. 453 F.3d 757, 762 (6th Cir. 2006). The district

court dismissed Redmon’s Title VII claims with prejudice and declined to exercise supplemental

jurisdiction over his state-law claims.

        This timely appeal followed. Redmon filed a petition for initial hearing en banc, which

this court denied.1 Asserting that Vickers should be overruled, Redmon argues that he stated a

claim for sex discrimination under Title VII by alleging that his employer subjected him to

harassment and ultimately terminated his employment because of his sexual orientation. In

response, Yorozu Automotive acknowledges that this case should be remanded to the district court

for further proceedings in light of the Supreme Court’s intervening decision in Bostock v. Clayton

County, which concluded that discrimination against an individual for being homosexual

constitutes discrimination because of that individual’s sex under Title VII. 140 S. Ct. 1731, 1741

(2020) (“[I]t is impossible to discriminate against a person for being homosexual or transgender

without discriminating against that individual based on sex.”).

        Accordingly, we VACATE the district court’s judgment and REMAND for further

proceedings.




1
 We granted a motion by defendant to hold the case in abeyance pending the Supreme Court’s decision on the petitions
for certiorari in Bostock v. Clayton County, (No. 17-1618), and Altitude Express, Inc.v. Zarda, (No. 17-1623).

                                                       -2-

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